              Case 2:15-cr-00190-KJM Document 267 Filed 09/13/17 Page 1 of 2

 1 PHILLIP A. TALBERT
   United States Attorney
 2 AUDREY B. HEMESATH
   TODD A. PICKLES
 3 Assistant United States Attorneys
   501 I Street, Suite 10-100
 4 Sacramento, CA 95814
   Telephone: (916) 554-2700
 5 Facsimile: (916) 554-2900

 6
   Attorneys for Plaintiff
 7 United States of America

 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:15-CR-190 GEB

12                                 Plaintiff,             PROPOSED FINDINGS AND PROPOSED ORDER
                                                          RE: EXCLUSION OF TIME UNDER THE SPEEDY
13                           v.                           TRIAL ACT

14   JOHN MICHAEL DICHIARA, GEORGE
     LARSEN, and LARRY TODT,
15
                                  Defendants.
16

17
            As a supplement to the Court’s exclusion of time to the new trial date of November 28, 2017, the
18
     United States asks the Court to make the following factual findings:
19
            1. The defendant John Michael DiChiara is unavailable for trial due to his suffering a stroke and
20
                admission to the hospital. According to his current treating physician, Mr. DiChiara is
21
                expected to recover to the point of being able to participate in a trial within 30-60 days.
22
                Time is therefore excludable under Local Codes M & O, 18 U.S.C.§ 3161(h)(3)(A) & (h)(4).
23
            2. Time is also excludable as to defendants Todt and Larsen under Local Code R, as unsevered
24
                co-defendants. 18 U.S.C. §3161(h)(6).
25
            Based on the above-stated findings, the ends of justice served by continuing the case as requested
26
     outweigh the interest of the public and the defendant in a trial within the original date prescribed by the
27
     Speedy Trial Act.
28

                                                          1
30
             Case 2:15-cr-00190-KJM Document 267 Filed 09/13/17 Page 2 of 2

 1         For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et seq., within

 2 which trial must commence, the time period of September 12, 2017 to November 28, 2017, inclusive, is

 3 excludable.

 4

 5

 6 Dated: September 12, 2017                              PHILLIP A. TALBERT
                                                          United States Attorney
 7
                                                  By: /s/ AUDREY B. HEMESATH
 8                                                    AUDREY B. HEMESATH
                                                      TODD A. PICKLES
 9                                                    Assistant U.S. Attorneys
10                                                        For the United States of America
11

12                                                 ORDER
13

14                It is so found and ordered.
15 Dated: September 12, 2017

16

17

18

19

20

21

22

23

24

25

26
27

28

                                                      2
30
